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IN THE UNITED sTATES DISTRICT coURT “W-*zlc

FOR THE wEsTERN DISTRICT oF TENNESSEE USSEP
wEsTERN DIVISION

 

LECTROLARM CUSTOM SERVICES,
INC.,

Plaintiff,

VICON INDUSTRIES, INC.,

)
)
)
)
)
v. ) NO. 03-2330 Ma/A
)
)
et al., )

)

)

Defendants.

 

MEMORANDUM OPINION AND ORDER ON MARKMAN MOTION AND ORDER DENYING
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT OF INVALIDITY OF CLAIMS 6
AND 7

 

Before the court is the parties’ request for patent claim
construction under Markman v. Westview Instruments, Inc., 52 F.3d
967 (Fed. cir. 1995), §;£;Q, 517 U.s. 370 (1996). Plainciff
Lectrolarm Custom Systems, Inc. (“Lectrolarm”) filed a “Proposed

Markman Findings of Fact and Conclusions of Law,” on February 25,

2004. Defendants Bosch Security Systems, Inc. (“Bosch”), Vicon
Industries, Inc. (“Vicon”), GE Interlogix, Inc. (“GE”) and
Sensormatic Electronics Corporation (“Sensormatic”} (collectively
the “Defendants”) filed_ a “Memorandunl of Law on Claim

Construction,” on March 16, 2004.l Defendants GE and Bosch filed a

“Supplemental Claim Construction Brief ... on ‘Controlling Means’

 

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Defendants Matsushita Electric Corporation and Sony Electronlcs, Inc. also
filed the Memorandum. Both defendants have since been dismissed.

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Limitation of Claims 2-5,” on March 16, 2004. Defendants
Sensormatic and Vicon filed a “Supplemental Memorandum of Law on
Claim Construction of ‘Controlling Means' in Claim 2,” on March 16,
2004. Lectrolarm filed a “Reply to Defendants’ Memorandum of Law on
Claim Construction,” on April 2, 2004. The court held a Markman
hearing on claim construction on September 30, 2004. On October 15,
2004, Lectrolarnl filed a “Post-Markman. Hearing Brief on. Claim
Construction,” and the Defendants filed a “Post-Hearing Memorandum
Concerning Claim Interpretation Issues,”2

Also before the court is the Defendants’ March 5, 2004,
“Motion For Summary Judgment of Invalidity of Claims 6 and 7 of
U.S. Patent No. 4,974,088 as Indefinite Under 35 U.S.C. § 112 q 2.”
Lectrolarm filed a response on April 8, 2004. The court heard oral

arguments on the summary judgment motion at the September 30, 2004,

 

2On January 28, 2005, the Defendants filed a “Petition for Reexamination”
of the patent in issue with the United States Patent and Trademark Office.
Lectrolarm filed a “Supplemental Markman Brief,” on February 17, 2005, in which
it pointed out alleged inconsistencies between the positions the Defendants
adopted in the petition and the positions the Defendants “previously adopted and
advocated to this Court." (Lectrolarm's Supp. Markman Brief at 1.) The Defendants
responded by filing a “Supplemental Claim Construction Brief,” on March 14, 2005,
in which the Defendants state: “[t]he Court did not request or authorize
supplemental briefing on claim interpretation, and Lectrolarm neither conferred
with Defendants nor sought leave from the Court before filing. In the event the
Court accepts additional briefing, Defendants submit this supplemental brief in
response." (Def.'s Supp. Claim Construction Brief at 1.) This supplemental brief
prompted Lectrolarm to file a “Response to Defendants' Supplemental Claim
Construction Brief,” on March 30, 2005.

The deadline for the submission of supplemental briefs on claim
construction was October 15, 2004, and the court knows of no reason that
arguments made by a party in a “Petition For Reexamination” to the United States
Patent and Trademark Office should have a bearing on the court's claim
construction analysis under Markman. Neither of Lectrolarm's briefs submitted
after October 15, 2004, explains why this should be so. Therefore, the court will
not consider any of the supplemental briefs on claim construction filed after
October 15, 2004.

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Markman hearing. For the following reasons, the court construes the
claims as follows and DENIES the motion for summary judgment.
I. Background

On November 27, 1990, the United States Patent and Trademark
Office {“PTO") issued U.S. Patent No. 4,974,088 (the “‘088
patent”), entitled “Remote Control Apparatus for a Rotating
Television Camera Base,” to inventor Takeshi Sasaki. The technology
at issue is an apparatus that uses computer memory and digital
communication to allow remote control “rotation of a monitoring
television camera in the horizontal and vertical directions.” U.S.
Patent No. 4,974,088, Column 1:6-8. The patent was originally
assigned to Maruwa Electronic & Chemical Company (“Maruwa”). Maruwa
assigned the patent to Lectrolarm. Lectrolarm alleges that the
Defendants have infringed the ‘088 patent.3
II. Legal Standard For Claim Construction

A patent is a fully integrated written instrument, and claim
construction is a matter of law for the court. §ee Markman, 52 F.3d
at 978. “It is a bedrock principle of patent law that the claims of
a patent define the invention to which the patentee is entitled the
right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.
Cir. 2005) (internal quotes and citations omitted). Claim terms
should be given their ordinary and customary meaning unless the

patentee acts as his own lexicographer and, either explicitly, or

 

3Originally there were 14 defendants; four remain.

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by implication, uses the specification to give a particular
definition to a term. See Bell Atlantic Network Services, Inc. v.
Covad Communications Group, Inc., 262 F.Bd 1258, 1268 (Fed. Cir.
2001) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.Bd 1576,
1582 (Fed. Cir. 1996)).

The ordinary and customary meaning of a term may be determined
by considering what a person of ordinary skill in the art would
have considered the term to mean at the time of invention, not the
subjective intent of the patentee. Markman, 52 F.3d at 986. “[T]he
person of ordinary skill in the art is deemed to read the claim
term not only in the context of the particular claim in which the
disputed term appears, but in the context of the entire patent,
including the specification.” Phillips, 415 F.3d at 1313. When
“determining the ordinary and customary meaning of a claim requires
examination of terms that have a particular meaning in a field of
art”, then “the court looks to ‘those sources available to the
public that show what a person of skill in the art would have
understood disputed claim language to mean.' Those sources include
‘the words of the claims themselves, the remainder of the
specification, the prosecution history, and extrinsic evidence
concerning relevant scientific principles, the meaning of technical

terms, and the state of the art.’” Id. at 1314 (quoting InnovagPure

 

Water, Inc. v. Safari Water Filtration Svstems, Inc., 381 F.3d
1111, 1116 (Fed. Cir. 2004)); see also Vitronics, 90 F.3d at 1582

 

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(holding that intrinsic evidence such as the claims themselves, the
specification and the prosecution history should be the primary
source of guidance about the meaning of claim terms).

Although claims should always be read in the context of the
specification, the scope of` a clainl should. not be limited to
specific embodiments disclosed in the specification. Seec e.g.,
Ekchian v. Home Deoot, Inc., 104 F.3d 1299, 1303 (Fed. Cir. 1997).
The prosecution history should be consulted because the patentee
may not advocate an interpretation which he had earlier disavowed
in order to obtain allowance. §e§ Standard Oil Co. v. American
Cyanamid Co., 774 F.2d 448, 452 {Fed. Cir. 1985).

Where intrinsic evidence is dispositive, extrinsic evidence,
such as expert testimony, inventor testimony, and prior art, should

not influence the court's claim interpretation. Vitronics, 90 F.3d

 

at 1584. In cases, however, where “the ordinary meaning of claim
language as understood by a person of skill in the art may be
readily apparent even to lay judges, and claim construction in such
cases involves little more than the application of the widely
accepted meaning of commonly understood words ... general purpose
dictionaries may be helpful.” Phillips, 415 F.3d at 1313. But, a
dictionary definition may not be relied on if it “contradict[s] any
definition found in or ascertained by a reading of the patent
documents.” Vitronics, 90 F.3d at 1584 n.6.

Construction of means-plus-function claims written under 35

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U.S.C. § 112, 1 6 is also a matter of law for the court. gee Linear
Technologv Corp. v. Immpala Linear CorD., 379 F.3d 1311, 1318 (Fed.
Cir. 2004). “In construing a means-plus-function claim limitation,
the recited function within that limitation must first be
identified. Then, the written. description. must be examined to
determine the structure that corresponds to and performs that
function." Gemstar-TV Guide lntern., Inc. v. International Trade
§Qm;n, 383 F.3d 1352, 1361 (Fed. Cir. 2004) (internal quotes and
citations omitted). Consequently, these claims are an exception to
the rule that the scope of a patent claim is not limited by the
embodiments disclosed in the specification.
III. Prior Litigation Involving the ‘088 Patent

This is not the first time a court has been asked to construe
claims of the ‘088 patent. In a prior action, styled L§Qtrglg;m;yg

Pelco (the “Pelco suit”), Judge Wanger of the Eastern District of

 

California (the “£elgg court”) entered a 107 page “Amended
Memorandum Decision and Order Re: Claim Interpretation After
Markman Hearing” (the “§elgg decision”) construing Clain@ One
through Five of the ‘088 patent. Following the Pelco court's
Markman construction, the parties settled. (Lectrolarm's Proposed
Markman Findings of Fact and Conclusions of Law (hereinafter “Pl.’s
Br.”) at 6.) Lectrolarm urges the court to adopt the gelgg decision
in its entirety. (ld4 at 1-3.} Not surprisingly, the Defendants

argue against wholesale adoption of the Pelco decision. (D.’s Mem.

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of Law on Claim Construction (hereinafter “D.'s Br.”) at 3-4.) The
parties agree that the gelgg decision should be used as a starting
point for this court's claim construction analysis.

The court will not adopt the gelgg decision in its entirety.
Intrajurisdictional uniformity in claim interpretation is an
important goal of the patent system that is achieved through review
of federal district courts’ claim construction orders in a single
appellate court. See Markman v. Westview Instruments, Inc., 517
U.S. 370, 390-91 (1996) {finding that intrajurisdictional
uniformity in the treatment of patents is promoted by applying
stare decisis to the decisions of the single patent appellate

court). Because the parties in the Pelco litigation settled after

 

the district court had entered its Markman order, the gelgg
decision was never reviewed by the Federal Circuit. Consequently,
the Pelco decision has no stare decisis effect on this court.
Because the §§lgg decision was not reviewed by the Federal Circuit,
it cannot be viewed as a final order for purposes of collateral
estoppel.

Even if the Pelco decision were binding on this court, the
court would have a responsibility to construe terms in the patent
that were not at issue in Pelco. See Phonometrics, Inc. v. Northern
Telecoml Inc., 133 F.3d 1459, 1464 (Fed. Cir. 1998) (finding that
an earlier Federal Circuit order construing patent claims was

“merely dictum” as to terms that had not been at issue in the

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earlier litigation).
IV. The Invention
The Pelco court described the invention of the ‘088 patent:4

The patented Spector pan and tilt security camera systems
involved in this lawsuit are used at retail, industrial,
military, correctional, and other sites that require
remote visual monitoring. These security cameras are
mounted in a way that they may be rotated in a horizontal
direction (“panned”) or rotated in a vertical direction

(“tilted”). Spector security cameras are controlled by
digital signals making installation easy and
manufacturing economical. Prior to the patented

invention, the pan and tilt operations were controlled
through the use of servo motors using analog feedback
signals. The analog operating signals were sent through
many different signal lines making installation
complicated, and operation susceptible to noise.

The ‘088 Patent claims a remote control apparatus for
regulating the horizontal and vertical rotation of a
television camera. The invention calls out a remote
control box with a computer intelligence that is used to
input and send position data to a second computerized
unit at the camera base. The computer units control the
operation of the camera according to pre-programmed
instructions inputted through an operating panel
connected to the remote control box. The movement of the
camera base is driven by a drive circuit and stepper
motors. The invention allows automatic operation of the
remote camera without a monitoring person. It also
provides for detection.of abnormal conditions by external
signals attached to the camera base by rotating the
camera to pre-determined locations or sending a visual
alert signal to the operating panel. Electronic “noise”
is reduced, in part, because instead of a plurality of
signal lines connecting the control box to the camera
base, only two signal lines (three wires including the
ground wire) are required.

 

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Although the Pelco decision is not binding, the court has adopted parts
of that decision where doing so is expedient and does not abdicate the court's
responsibility to review the parties' substantive claims.

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The remote control box contains a modulating circuit that
modulates the digital signal froni the control box's
central processing unit (“CPU”) before it travels to the
camera base over the signal lines. Modulating the signal
provides a hardier, more noise-resistant signal that
requires only two wires and can travel over greater
distances than previously available. A demodulating
circuit within. the camera base recovers the digital
signal for processing by the CPU in the camera base. The
recovered digital signal is processed, and further
digital signals are generated from the camera base CPU
and sent to drive circuit and motors that control the
rotation of the camera
Pelco Decision at 3-6 (quotes and citations omitted). In addition
to modulation, the ‘088 patent claims an invention where
communication. between the control box and the camera base is
accomplished using pairs of light receiving and light transmitting
elements called photocouplers.5 Photocouplers may be used to
transmit digital data between the control box and the camera base
as light pulses or electrical signals. In one case, complete
photocouplers are placed on both the control box and the camera
base and send signals between the two sides as electrical pulses
with very little “noise” in the signal. U.S. Patent No. 4,974,088,
Column 7:22-9:47. In another embodiment, the elements that comprise
a photocoupler are split so that a light emitting element on one
side of the invention sends data over an optical cable to a light

receiving element on the other side of the invention, Id. at 9:53-

62.

 

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The Pelco decision did not discuss the use of photocouplers because this
method of practicing the invention is only discussed in Claims 6 and 7 of the
‘038 patent, which were not at issue in Pelco.

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V. Claim Construction
A. Claim Language

The parties disagree about the proper construction of language
found in six claims in the ‘088 patent. The claims containing
disputed language provide as follows, with the contested language
underlined:

1. A remote control apparatus for a rotating camera base
that supports a television camera such that it is
rotatable in the horizontal and vertical directions, said
remote control apparatus for a rotating camera
comprising:

a first controlling means that outputs a digital
signal for driving and controlling said rotating
camera base,

a modem for receiving and transmitting said digital
signal outputted from said first controlling means
for driving and controlling said rotating camera
base, said modem including a modulating circuit and
a demodulating circuit;

a control box including said nmdulating circuit
that outputs the modulated version of the digital
signal from said first controlling means with a
prescribed carrier wave, said nmdulating circuit
being electrically connected to said first
controlling means,

said demodulatinq circuit that recovers the digital
signal from the modulated input from said
modulatinq circuit being provided in said rotating
camera base and electrically connected7 to said
modulatinq circuit, and

a second controlling means that drives and controls
said rotating camera base based on the digital
signal from said demodulatinq circuit, said second
controlling means being electrically connected to
said demodulating circuit of said modem.

2. A remote control apparatus for a rotating camera base

 

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that supports a television camera such that it is
rotatable in the horizontal and vertical directions, said
remote control apparatus for a rotating base comprising:

an input means for inputting the operating data for

the automatic operation of said rotating camera
base,

a storing means electrically connected to said

input means for storing the operating data inputted
by means of said input means, said storing means

including a random access memorv, and

a controlling means that controls the automatic
operation. of the rotating camera base based on
previously stored operating data stored in said
storing means, said controlling means being
electrically connected to said storing means

whereby operating data previously stored in said
storing means is employed to automatically operate
the rotating camera base in accordance with said
previously stored operating data.

3. A remote control apparatus for a rotating camera base,
as set forth in claim 2, wherein

said input means further includes a second input

means for inputting the home position data used for
making said rotating camera base rotate to
prescribed home positions during automatic

operation,

said storing means further stores the home position
data inputted by means of aid [sic] second input

means,

an instructing means is further provided for
inputting to said controlling means the instruction
signals for making said rotating camera base rotate
to prescribed home positions during automatic
operation, said instructing means being
electrically connected to said controlling means,

 

said controlling means further makes said rotating
camera base rotate to a prescribed home position
during automatic operation according to the
instruction signals from said instructing means,

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based on said home position data stored in said
storing means.

4. A remote control apparatus for a rotating camera base,
as set forth in claim 2, wherein

said input means further includes a second input
means for inputting the home position data used for

making said rotating camera base rotate to
prescribed home positions during automatic

operation,

said storing means further stores the home position
data inputted by means of said second input means,

external sensors that send an emergency signal to
said controlling means are provided in said
prescribed home positions and are electrically
connected to said controlling means, and

said controlling means further makes said rotating
camera base rotate to a prescribed home position
based on the emergency signal sent from the
external sensor and on said. home position data
stored in said storing means.

5. A remote control apparatus for a rotating camera base,
as set forth in claim 4, that is further provided with

a disabling means that prevents, based on the
emergency signal from said external sensors, said
controlling means from making said rotating camera
base rotate to a prescribed home position, said
disabling means being electrically connected to
said external sensor, and

a display means that shows the presence or absence
of said emergency signal, said display means being
electrically connected to said external sensor.

6. A remote control apparatus for a rotating camera base
that supports a television camera such that it is
rotatable in the horizontal and vertical directions, said
remote control apparatus for a rotating camera base
comprising

a control box that outputs an electrical signal for
driving and controlling said rotating camera base,

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a hotocou ler including a light-emitting element
that transforms said electrical signal from said

control box to a light signal, said light-emitting
element being provided in said control box,

said ppppgpppplpp further including a light
receiving element that transforms the light signal
from said light-emitting element to an electrical
signal and outputs the electrical signal to said
rotating camera base, said light receiving element
being provided in said rotating camera base,
a transmitting means for transmitting the light
signal from said light-emitting element to said
light-receiving element, said transmitting means
being provided between said control box and said
rotating camera base, and
a controlling means that drives and controls said
rotating camera base based on the signal from said
light receiving element, said controlling means
being provided in said rotating camera base and
electrically connected to said light-receiving
element.

U.S. Patent No. 4,974,088, Column 10110-12:43.

Within these six claims the parties disagree about the meaning
of eighteen terms. The court will construe only those parts of the
claims actually in dispute. See U.S. Surgical Corp. v. Ethiconp

lnC., 103 F.3d 1554, 1568 (Fed. Cir. 1997).

B. Camera Base

The preambles to all six claims contain the language “[a]
remote control apparatus for a rotating camera base....” Lectrolarm
argues that the preambles are limitations of the claims and
proposes that “camera base” should be construed to mean “television
camera base.” The Defendants argue that the preambles are not

limitations of the claims. and would interpret “camera base” to

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mean “a base capable of supporting a camera."6

“A claim preamble has the import that the claim as a whole
suggests for it. If the claim preamble, when read in the context of
the entire claim, recites limitations of the claim, or, if the
claim preamble is necessary to give life, meaning, and vitality to
the claim, then the claim preamble should be construed as if in the
balance of the claim.” Pitnev Bowes v. Hewlett Packard, 182 F.3d
1298, 1305 (Fed. Cir. 1999) (internal quotes and citations
omitted); see also ln re Paulsen, 30 F.Bd 1475, 1479 (Fed. Cir.
1994} (“terms appearing in a preamble may be deemed limitations of
a claim.when they give meaning to the claim and properly define the
invention”). The preambles to claims one through six of the ‘088
patent give meaning to the claims. For example, claim two recites
“an input means for inputting the operating data for the automatic
operation of said rotating camera base.” U.S. Patent No. 4,974,088,
Column 11:38-45. The words “said rotating camera base” refer back
to the “camera base” in the preamble, and are only' properly
understood if the accompanying description of the camera base in
the preamble is read as a limitation of the claim. All six of the
claims include the language “said rotating camera base” referring
the reader back to the description of the rotating camera base in

the claims' preambles.

 

6If the preambles are not claim limitationsr as the Defendants argue, it
is not clear why the Defendants have proposed a definition for the preambles.

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Because the preambles are limitations of the claims, the court
must construe the disputed language. The plain language of the term
“camera base” is “camera base." Neither the specification nor the
prosecution history indicates that the patentees desired a
different definition of this term. The Defendants have identified
no reference to the base of the apparatus in the specification that
contemplates any use other than in conjunction with a camera.

The Defendants attempt to use the specification to support
their view by arguing that the “‘088 Patent does not describe any
aspect of the camera itself, apart from the existence of zoom,
focusr and iris motors. lnstead the focus of the ‘088 Patent is the
base itself and the control box, not what is on the camera base."
(D.’s Br. at 46.) As the title of the invention states, the patent
is for a “Television Camera Base.” U.S Patent No. 4,974,088
(emphasis added). Patenting an invention for a base for television
cameras does not require discussing the details of the television
cameras that will be mounted on that base.

The inventors, by the plain language used in the claims,
limited patent ‘088 to bases for cameras. Nothing in the
specification or prosecution history indicates otherwise. The court
sees no reason to use a definition other than the plain meaning of
the words and construes “camera base” to mean “television camera

base.”

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C. And Equivalents Thereof

The six disputed claims contain sixteen claims that the
parties agree are means-plus-function claims. Lectrolarm asks the
court to include in its construction of each of these claims the
phrase “and equivalents thereof” following the court’s recitation
of the corresponding structure in each claim. The Defendants argue
that the phrase should not be included in the court’s construction
of the claims.

According to the Patent Act, “[means-plus-function claims]
shall be construed to cover the corresponding structure, material,
or acts described in the specification and equivalents thereof." 35
U.S.C. § 112, 1 6 (emphasis added). The dispute between the parties
centers on whether the court’s claim construction should make
explicit that the Patent Act includes equivalents of corresponding
structures within the scope of means-plus-function claims.

Clainlconstruction involves “determining the meaning and scope
of the patent claims asserted to be infringed.” Markman, 52 F.3d at
976. It follows that anything within the “meaning and scope” of a
claim should be included in the court's Markman order construing
the claims. Equivalents of corresponding structures are required by
statute to be within the scope of a means-plus-function claim. The

court will include the language “and equivalents thereof” in its

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construction of all means-plus-function claims in the ‘088 patent.7

D. Modulate; Carrier Wave; Modulate With a Chrrier Wave;
Modem; Modulating Circuit; Demodulating Circuit

The construction of paragraphs three, four, five and six of
clainlone depends on the definitions of “modulate,” “carrier wave,”
“modulate with a carrier wave,” “modem,” “modulating circuit,” and
“demodulating circuit.”

1. Modulate

The Defendants propose that “modulate” be construed as
follows:

“Modulation” requires that a characteristic of the

carrier wave has been changed to represent the 1 and 0

values of the digital signal so that the voltage levels

of the nwdulated signal in and of themselves do not

represent the 1 and 0 values of the digital signal.

Modulation involves more than simply encoding digital

data in serial formats such as non-return to zero, return

to zero, Manchester, or bi-phase. Demodulation involves

more than simply decoding of digital data.

Lectrolarm argues that this definition improperly restricts the
scope of the patent claim and is unnecessary. The issue revolves
around the question of whether the coding of digital data into
electrical pulses constitutes “modulation.”

Technical dictionaries and treatises may help “a court to

better understand the underlying technology and the way in which

one of skill in the art might use the claim terms.” Phillips, 415

 

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The Federal Circuit sometimes includes the phrase “and equivalents
thereof” when construing means-plus-function claims. Seel e.g., Animatics Corp.

v. Quicksilver Controlsc Inc.r 102 Fed. Appx. 659, 670 (Fed. Cir. 2004); Texas

Digital Svstems. Inc. v. Telegenixr Inc.r 308 F.3d 1193, 1209 (Fed. Cir. 2002).

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F.3d at 1318 (internal quotes omitted). “Such evidence ... may be
considered if the court deems it helpful in determining the true
meaning of language used in the patent claims.” lgp (internal
quotes omitted). The Defendants have directed the court to the
textbook Digital Communications for help in deciding the meaning of
“modulation” to a person of skill in the art. Digital
Communications was published in 1988, one year before the ‘088
patent was filed. The author of the textbook is Bernard Sklar, who
is also an expert for Lectrolarm.

At its most basic, a digital communication system operates as
follows: 1) data enters the system; 2) if the data is not digital,
it is represented by digital data through the process of
formatting; 3) the digital data is encoded onto a waveform for
transmission through the process of modulation; 4) the modulated
data is transmitted along some channel; 5) the transmitted data is
removed from the waveform by the process of demodulation; 6) if the
desired output of the process is not digital data then the digital
data is formatted into whatever final form of data is desired.
Bernard Sklar, Digital Communications: Fundamentals and
Applications 54 (1988). Defendants argue that the process of
encoding digital data into formats such as non-return to zero,
return to zero, Manchester, or bi-phase is part of the process of
formatting, not part of the process of modulation.

Formatting makes a “source signal compatible with digital

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processing.” pdp at 52. These source signals are textual or analog
data. ppg at 54. Digital data is already compatible with digital
processing and does not need to be formatted. ;gp The end result of
formatting is a streanl of binary' digits known as pulse code
modulation {PCM). lpg at 54, 73.

Modulation transforms digital data represented as PCM into
waveforms that are compatible with transmission along a channel.
pdp at 54, 118. For transmission along a cable or wire, called
baseband transmission, the appropriate waveform is an electrical
pulse. ;gp at 54, 78. The most common types of pulse waveforms
used in baseband transmission are non-return to zeror return to
zero, and multilevel binary. ;gp at 78. The phase encoded group
consists of bi-phase and Manchester coding. ldp at 81.

The process of transmission over a channel that is not a cable
or wire (such as radio transmission) is called bandpass
transmission. lgp at 52. The appropriate waveform for bandpass
modulation is a sinusoid. lgp at 118.

Sklar’s textbook clearly states that modulation is encoding
digital information onto a waveform, and one type of wave form is
an electric pulse which includes non-return to zero, return to
zero, Manchester, and bi-phase formats. Further, because modulation
can result in a waveform that is simply a series of electrical
pulses, modulation necessarily includes the process of encoding

digital information into a format where the voltage level of the

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signal indicates whether the data being transmitted is a one or a
zero.

The description of “modulation” in Sklar’s textbook is
consistent with the IEEE Standard Dictionary of Electrical and
Electronics Terms' {hereinafter the “IEEE Dictionary”) definition

of “modulation:”

(1)(A)(data transmission). (i) The process by which some
characteristic of a carrier is varied in accordance with
a modulating wave. (ii) The variation of some
characteristic of a carrier. See also: angle modulation;
modulation index. (B) (data transmission) (Signal
transmission, system). (i) A process whereby certain

characteristics of a wave, often called the carrier, are
varied or selected in accordance with a modulating
function. (ii) The result of such a process. See also:
angle modulation; modulation index.
IEEE Dictionary, 662 (6th ed. 1997). The IEEE dictionary does not
exclude the process of encoding digital data as a series of
electrical pulses from the definition of modulation.

A leading non-litigation induced treatise from 1988, Digital
Communications by Bernard Sklar, coupled with the definition of
modulation in the IEEE Dictionary make clear that the plain meaning
of the term “modulate,” to one skilled in the art in 1989, included
representing digital data as electrical pulses coded into serial
formats such as non~return to zero, return to zero, Manchester, or

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bi-phase. Neither the prosecution history nor the specification

 

aThe Defendants support their position with excerpts of testimony from
expert witnesses for both sides. The court need not consider this extrinsic
evidence. The meaning of “modulation” to one of skill in the art in 1969 can be
construed from non-litigation induced treatises and technical dictionary
definitions.

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lead the court to conclude that the term “modulation” should be
given a definition different from its plain and ordinary meaning.
Therefore, the court will not use the Defendants’ proposed
definition.
2. Carrier Wave

Lectrolarm proposes that “carrier wave” should be construed to
mean:

The term carrier wave is completely synonymous with the

term carrier, which, to one skilled in the art in 1988,

means wave. A carrier wave is a continuous

electromagnetic wave, of sinusoidal or non-sinusoidal

form, capable of being modulated or impressed with a

signal.
Defendants propose that the court should construe carrier wave to
include only the second sentence of Lectrolarm's proposed
definition minus the word “electromagnetic.” The IEEE Dictionary
defines “carrier wave” as a synonym for “carrier.” IEEE Dictionary,
at 136. The IEEE Dictionary gives several definitions for carrier.
Definition (5)(A) explicitly states that it applies to the use of
the word “carrier” as a synonym for “carrier wave” and defines the
terms as “a continuous frequency capable of being modulated or
impressed with a signal.” IEEE Dictionary, at 134-135.

The first sentence of lectrolarm's proposed definition of
carrier wave is superfluous. Although the IEEE Dictionary defines
“carrier wave” as a synonym for “carrier,” making this statement in

the court’s claim construction does not clarify the term for the

fact finder. Similarly, whether “carrier” is a synonym for “wave”

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does not clarify the term for the fact finder. The court will not
adopt the first sentence of Lectrolarm’s proposed construction of
“carrier wave.”

The court next considers the use of the word
“electromagnetic.” The IEEE Dictionary defines “electromagnetic
waves” as:

(1)Waves characterized. by' variations of electric and

magnetic fields. Note: Electromagnetic waves are known as

radio waves, heat rays, light rays, etc., depending on

the frequency. (2) (radio wave propagation) Waves

characterized by temporal and spatial variations of

electric and magnetic fields.

IEEE Dictionary, at 346. The parties agree that the modulating and
demodulating circuits are connected electrically (Pl.’s Br. at
39.); therefore, it must be possible for the carrier wave to be an
electrical signal. The IEEE Dictionary definition does not include
electrical pulses within its recitation of examples of
electromagnetic waves. Lectrolarm has presented no arguments for
including the word “electromagnetic” in the definition of “carrier
wave.” Therefore, the court will not adopt Lectrolarm’s proposed
inclusion. of the word “electromagnetic” in the definition of
“carrier wave.”

The court notes that, although the IEEE Dictionary definition
of “carrier wave” does not specify whether a “carrier wave” can be
sinusoidal or non-sinusoidal, the parties agree that the definition

should include the language “of sinusoidal or non-sinusoidal form.”

Neither the specification nor the prosecution history narrows the

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scope of the term “carrier wave” from its ordinary meaning to a
person of skill in the art. Consistent with the IEEE Dictionary,
the court defines “carrier wave” as “a continuous wave, of
sinusoidal or non-sinusoidal form, capable of being modulated or
impressed with a signal.”
3. Modulate With a Carrier Wave

The Defendants again argue that the patent claims do not
include “encoding digital data in serial formats such as non-return
to zero, return to zero, Manchester, or bi~phase” by stating that
“modulation with a carrier wave” (discussed in Claim 1, 1 4)9 does
not include these types of waveforms. (Df.’s Post-Hearing Mem.
Concerning Claim Interpretation lssues at 11-12.) The Defendants
refer to the following language from the textbook Digital
Communications:

[i]n the case of baseband modulation, [the] waveforms are

pulses, but in the case of bandpass modulation the

desired information signal modulates a sinusoid called a
carrier wave, or simply a carrier.

Digital Communications at 118.

As already discussed, encoding digital data once a pulse
waveform in a format such as non-return to zero, return to zero,
Manchester, or bi-phase is a form of modulation called baseband

modulation. ld. at 78. Bandpass modulation, as the cited text

 

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The operative claim language is “outputs the modulated version of the
digital signal ... with a prescribed carrier wave....” U.S. Patent 4,974,088,
Column 10:23-26.

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discusses, involves formatting digital data onto a sinusoid. The
cited passage from Q;g;palugppmpplpppippp treats “sinusoid” and
“carrier wave” as synonyms. The definition of carrier wave that the
court has adopted, however, explicitly acknowledges that “carrier
wave” and “sinusoid” are not synonyms. The Digital Communications
text uses the term “carrier wave” inconsistently with the
definitions of “carrier wave” proposed by both the Defendants and
Lectrolarm.

The court has determined that modulation includes encoding
digital data onto waveforms that are both electrical pulses and
sinusoids. The court has also adopted a definition of carrier wave
that includes both sinusoidal and non-sinusoidal waveforms.
Consequently, “modulation onto a carrier wave” includes encoding
digital data onto a pulse waveform in a format such as non-return
to zero, return to zero, Manchester, or bi-phase.

4. Modem / Modulating Circuit / Demodulating Circuit

Lectrolarm proposes that the definitions of “modem,”
“modulating circuit” and “demodulating circuit” include the
language “continuous frequency capable of being modulated or
impressed with a signal” at various places in their construction.
The Defendants would instead use the term “carrier wave.”
Lectrolarm's proposed language is essentially the definition of
“carrier wave” adopted by the court. The court will use the term

“carrier wave” where appropriate in the definitions of “modem,”

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“modulating circuit,” and “demodulating circuit.”

E. The Input Means (Claim 2, 1 2); Automatic Operation;
Operating Data

The parties agree that the function of the input means should
be defined as “the function of the input means is to input
operating data for the automatic positioning of the rotating camera
base.” The parties disagree about which structures disclosed in the
specification constitute the structure of the input means. The
parties also disagree about the definitions of “automatic
operation” and “operating data” within_ the description. of the
function.

1. The Structure of the Input Means

Lectrolarm proposes that the structure of the input means be
“the control pad and a set of buttons and switches (it can include
button or switch they input including pan speed or tilt speed, and
would include interval scan switches) on the operating panel.”
Defendants would like the structure of the input means to be “the
user interface to the transmit side CPU, which includes the control
pad and a set of buttons and switches by which the user operates
the controls in a manner that defines the automatic operation.”

The specification identifies several structures involved in
inputting operating data for the automatic operation of the camera
base. These structures include the control pad, memory set and
clear buttons, and switches for controlling the panning and tilting

speeds, mode of automatic operation, and stopping interval. U.S.

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Patent No. 4,974,088, Column 3:52~4:18.

The Defendant's argue that the “user interface to the transmit
side CPU" should be included in the court's construction of the
structure of the input means. Including this language would be
wrong for two reasons. First, the term “user interface” is not
defined. The court will define the corresponding structure using
only structures clearly described in the specification. Second,
construction of the corresponding structure of a means-plus-
function claim should not include any structures from the written
description beyond those necessary for actually performing the
function. Micro Chemical. Inc. v. Great Plains Chemical Co., Inc.,
194 F.3d 1250, 1257-1258 (Fed. Cir. 1999). The Defendants have not
defined the “user interface,” and the court is concerned that it
might include structures that do not play a direct role in the
function of inputting operating data.

Based on the structures that the ‘088 patent specification
describes as performing the function of inputting operating data
for automatic operationr the court defines the structure of the
input means as: “the control pad and a set of buttons and switches
(including switches for inputting pan and tilt speeds, the interval
scan switch, the memory set and clear buttons, and switches for
setting the particular mode of automatic operation) on the

operating panel.”

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2. Automatic Operation

Lectrolarn:proposes that “automatic operation” be construed to
mean “the automatic reciprocating motion of the camera between
defined points.” The Defendants would interpret “automatic
operation” to mean “movement of the camera base that is not
directly responsive to input from a monitoring person (other than
initiation of the automatic operation).”

Both Lectrolarm and the Defendants agree that “‘automatic
operation,' as typically understood in the field of electronics,
refers to the operation of some structure without human
intervention.” (Pl.'s Br. at 53.) Lectrolarm argues that the scope
of the definition of “automatic operation” was narrowed in the
specification by the language “[d]uring automatic operation, the
television camera 7 undergoes rectilinear motion between the two
points A and B regardless of the path of rotation in scanning....”
U.S. Patent 4,974,088, Column 5:57-60.

The court agrees that the specification consistently uses the
term “automatic operation” to refer to motion of the camera between
pre-set points. This is not, however, the meaning of the definition
Lectrolarm has proposed. Lectrolarm's definition includes the term
“reciprocating motion.” Webster’s defines “reciprocating” as “to
move forward and backward alternately.” Webster's Revised
Unabridged Dictionarv, 1998. One of the modes of automatic

operation described in the specification involves directing the

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camera to a pre-defined position when an alarm is triggered. U.S.
Patent No. 4,974,088, Column 6:28-40. This aspect of the camera’s
automatic operation does not involve “reciprocating motion.”

The parties agree that the plain meaning of “automatic
operation” is movement without human intervention. The
specification does not limit the plain meaning of the claim in the
manner that Lectrolarm proposes. The court construes “automatic
operation” as “movement of the camera base that is not directly
responsive to input fronla monitoring person (other than initiation
of the automatic operation).”

3. Operating Data

Lectrolarm proposes that “operating data” should be construed
to mean:

the data inputted by the user through the control pad,
buttons, and switches on the operating panel that direct
the automatic reciprocating motion of the camera between
defined points. The operating data must include at least
position data (represented by angles of rotation, polar
coordinates, or any other suitable units) and stopping
interval data. Operating data may also include data
specifying speed of rotation, pan and tilt at the
discretion of the user.

The Defendants would interpret “operating data” to mean:
information that the controlling means uses to control
the automatic operation, Operating data is not
necessarily input directly by the user, but can be
derived fron1 the manner in. which. the user uses the
system.

The plain language of Claim 2, 1 2 requires that “operating data”

be data that 1) is input using the structure of the input means and

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2) that directs the automatic operation of the camera. U.S. Patent
4, 974, 088, Column 10:43-45.

The definition of “operating data,” however, must be narrowed
from the plain language of the claim. The patent describes two
different types of automatic operation. The first is “rectilinear
motion [of the camera] between two points A and B....” U.S. Patent
No. 4,974,088, Column 5:57-59. The second type involves
automatically directing the camera to a pre-set home position when
an alarm is triggered. U.S. Patent No. 4,974,088, Column 6:28-40.
Claim 3, 1 2 describes “home position data used for making said
rotating camera base rotate to prescribed home positions during
automatic operation.” U.S. Patent No. 4,974,088, Column 8:61-64. To
give separate meaning to the terms “operating data” and “home
position data," “operating data” cannot be the data used in all
types of automatic operation, but must only refer to the data used
during automatic rectilinear motion of the camera base between
points A and B.

Lectrolarm would like the court to include the language “the
data inputted by the user through the control pad, buttons, and
switches on the operating panel” in its definition of “operating
data.” That language is not appropriate. First, there is no need to
recite the structure of the input means, which has already been
defined. Second, the specification does not describe the user as

“inputting” the “operating data.” lt describes the user as

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“setting” the operating data. U.S. Patent No. 4,974,088, Column 3:
59-60; 5:22-24.

Lectrolarm would also like the court to include the language
“the operating data must include at least position data
{represented by angles of rotationr polar coordinates, or any other
suitable units) and stopping interval data. Operating data may also
include data specifying speed of rotation, pan and tilt at the
discretion of the user” in its definition of “operating data.”
There is no basis in the patent for the court to include this
language. The patent does not speak to the nature of the data
saved, but provides only that it is saved through use of the input
means.

The court also declines to accept the Defendants’ proposed
definition because it is overly broad. The Defendants propose
stating that “operating data is not necessarily input directly by
the user, but can be derived from the manner in which the user uses
the system." The claims and specification make clear that the
operating data is set through use of the input means. The
Defendants proposed construction opens the door for use of
structures other than the input means to set the operating data
stored in the system.

Based on the patent claims and the specification, the court
defines operating data as “data that controls the automatic

operation of the camera base, and that is set through use of the

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structure of the input means.”

F. The Second Input Means (Claims 3, 1 2; Claim 4, 1 2); Home
Position Data

Paragraph 2 of both Claims 3 and 4 claims a “second input
means.” The parties disagree about the construction of the function
and the structure of the second input means. The parties also
disagree about the definition of the term “home position data” used
in the construction of the claim.

1. Function of the Second Input Means

Lectrolarm proposes that the function of the second input
means “is to input home position data necessary to tell the camera
how to move into desired home positions.” The Defendants would like
the function. of the second input means to be “to input home
position data.” Lectrolarm’s proposed construction is overly
complex. There is no need to discuss the purpose of “home position
data” to understand the function of the second input means. The
court adopts the Defendants’ position and construes the function of
the second input means to be “to input home position data.”

2. Structure of the Second Input Means

Lectrolarm proposes that the structure of the second input
means “is the control pad and a set of buttons (including home
position buttons) and switches on the operating panel.” The
Defendants would like the structure of the second input means to be

“the user interface to the transmit side CPU, which includes the

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control pad and a set of buttons and switches by which the user
operates the controls in a manner that defines the home position.”

The specification identifies several structures involved in
inputting home position data. These structures include the control
pad and home position buttons. U.S. Patent No. 4,974,088, Column
5:66-6:13.

The Defendants argue that the “user interface to the transmit
side CPU” should be included in the court’s construction of the
structure of the second input means. Including this language would
be wrong for two reasons. First, the term “user interface” is not
defined. The court will define the corresponding structure using
only structures clearly described in the specification. Second,
construction of the corresponding structure of a means-plus-
function claim should not include any structures from the written
description beyond those necessary for actually performing the

function. Micro Chemical, 194 F.3d at 1257-1258. The Defendants

 

have not defined the “user interface” and the court is concerned
that it might include structures that do not play a direct role in
the function of inputting home position data.

Based on the structures that the ‘088 patent specification
describes as performing the function of inputting home position
data, the court defines the structure of the input means as: “the
control pad and a set of buttons (including home position buttons)

and switches on the operating panel.”

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3. Home Position Data

Lectrolarm proposes that “home position data” should be
construed to mean “information (represented by angles of rotation,
polar coordinates, or any other suitable units) necessary to
specify the locations of prescribed home positions. Home position
data is inputted by the user through the control pad, buttons
(including the home position buttons), and switches on the
operating panel.” The Defendants would interpret “home position
data” to mean “information identifying one or more home positions.
‘Home position' is a stored position.” The parties agree that “home
position data” is information that specifies the position of, or
identifies, home positions.

The first parenthetical in Lectrolarm’s proposed definition,
“(represented by angles of rotation, polar coordinates, or any
other suitable units),” has no basis in the specification. The
patent does not speak to the nature of the data saved to identify
the home positions.

The second sentence of Lectrolarm's proposed definition,
describing how “home position data” is entered into the system, is
unnecessary. The court’s construction of the function of the second
input means already discusses the manner in which “home position
data” is inputted.

The court defines “home position data” as “information

identifying one or more home positions that is set through use of

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the structure of the second input means. ‘Home position' is a

stored position.”

G. The Storing Means (Claim 2, 1 3; Claim 3, 1 3; Claim 4, 1
3); Random Access Memory

Claim 2, 1 3 claims a “storing means.” Paragraph 3 of both
Claims 3 and 4 refer back to the “storing means” of Claim 2. The
parties agree that the claim for a “storing means” is in means-
plus-function form. The parties disagree on the correct
construction of both the function and the structure of the “storing
means.” The parties also disagree on the definition of “random
access memory” used in both parties’ proposed constructions of the
function of the storing means.

1. The Function of the Storing Means

Patent Claims 2, 3 and 4 disclose two functions of the storing
means: the first involving operating data and the second involving
home position data. Lectrolarm proposes that the function of the
storing means is “to store the operating data inputted by the user
through the control pad, buttons, and switches on the operating
panel” and “to store home position data inputted using the control
pad, buttons (including the home position buttons), and switches on
the operating panel.” Defendants want to define the function of the
storing means as “to store the operating data” and “to store home
position data.”

The court has already defined “operating data” and “home
position data.” The court has also defined the means by which both

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types of data are input into the invention. There is no reason to

repeat these definitions in the definition of the function of the

storing means. The court defines the function of the storing means

as “to store the operating data and to store home position data.”
2. The Structure of the Storing Means

Lectrolarm proposes that the structure of the storing means
“includes a random access memory at the transmitting side and a
random access memory at the receiving side, as well as any CPU
components necessary to effect the storage function." The
Defendants argue that the structure of the storing means “is a
random access memory at the transmitting side, as well as any CPU
components necessary to effect the storage function." The parties’
dispute centers on whether the receiving side random access memory
{“RAM”) stores operating or home position data.

The specification takes five references to operating data
being stored on the transmitting side RAM for the automatic
operation of the camera. U.S. Patent No. 4,974,088, Column 4:29-31;
5:19-21; 5:38-41; 5:49-52; 6:9-10. Nowhere does the specification

refer to operating data being stored on the receiving side RAM.10

 

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In support of its position that the structure of the “storing means”

includes the receiving side RAM, Lectrolarm cites the following language from the
specification: “[t]he output signal from the CPU35 and the CPU 33 of the
receiving side is operated based on this stored data and the program stored in
the ROM 34.” U.S Patent No. 4,974,088, Column 4:60-63. Lectrolarm argues that,
if the court corrects a scrivener's error and changes “CPU35" to “RAM 35," this
passage supports its position that operating data is stored in the receiving side
R_AM.

Making the change proposed.by Lectrolarm causes the sentence to read “[t]he
output signal from the RAM 35 and the CPU 33 of the receiving side is operated

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The plain language of the specification suggests that operating
data is stored only on the transmitting side RAM.

The only type of signal that the specification describes as
passing from the transmitting side to the receiving side is the
output of the transmitting side CPU. U.S. Patent No. 4,974,088,
Column 4:41-52. The specification describes the transmitting side
CPU as “perform[ing] automatic operation.” U.S. Patent No.
4,974,088, Column 5:64-65. Nowhere does the patent describe the
receiving side CPU as directing the automatic operation of the
camera when that operation is reciprocating motion between points.
This omission suggests that the information sent from the
transmitting side CPU is not raw operating data, but instructions
about how the receiving side CPU should move the camera base.

The patent, however, also describes automatic operation that
is performed by the receiving side CPU. When an external sensor
detects an abnormal condition and outputs an emergency signal, the
CPU of the receiving side causes the television camera to rotate to
the home position from which the emergency signal was sent. U.S.
Patent No. 4,974,088, Column 6:28-40. During this type of automatic
operation, the receiving side CPU drives the camera base. If the
receiving side CPU can cause the camera to move to a home position

during automatic operation, home position data must be stored on

 

based on this stored data and the program stored in the ROM 34.” This sentence
makes no sense. A scrivener's error exists, but Lectrolarm has not proposed the
appropriate correction.

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the RAM of the receiving side.

The parties also dispute whether the construction should begin
with the words “the structure of the storing means is” or the words
“the structure of the storing means includes.” The construction of
the corresponding structure:nia means-plus-function clain1involves
identifying the specific structures in the specification linked to
the claimed function. Gemstar-TV Guide Intern., Inc. v.
International Trade Com'n, 383 F.3d 1352, 1361 (Fed. Cir. 2004). If
the court describes the structure of the storing means as
“including” the corresponding structures found in the
specification, it is possible that structures not in the
specification are part of the storing means. The court will use the
phrase “the structure of the storing means is. . .” in its
recitation of the structure of the storing means.

The court finds that the structure of the storing means in
Claim 2, 1 3, Claim 3, 1 3, and Claim 4, 1 3 “is a random access
memory at the transmitting side and a random access memory at the
receiving side, as well as any CPU components necessary to effect
the storage function."

3. Random Access Memory

Lectrolarm proposes that “random access memory” should be
construed to mean:

“a read/write memory that permits access to any of its

address (storage) locations in any desired sequence with
similar access time to each location.”

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The Defendants would interpret “random access memory” to mean:
random access memory is completely synonymous with RAM

and means a volatile memory that permits access to any of

its address (storage locations in any desired sequence

with similar access time to each location, and that also

has a read access time that is similar to its write

access time. RAM is one of two mean classes of electronic

memory that are mutually exclusive, the other class of
which is ROM. RAM includes static RAM and dynamic RAM.

ROM includes masked ROM, PROM, EPROM, and EEPROM

(including flash memory).

The parties agree that to a person of skill in the art the terms
“random access memory” and “RAM” can have different meanings but
disagree about which definition applies in the ‘088 patent. (Pl.'s
Br. at 81.) In. particular the parties disagree about whether
“random access memory” includes both volatile and non-volatile
memory.

The claim states that the storing means includes a “random
access memory.” U.S Patent No. 4,974,088, Column 10:48-49. The
structure that performs the function claimed iii a means-plus-
function claim must be disclosed in the specification. §ppp_ppgp,
Gemstar, 383 F.3d at 1361. The specification never uses the words
“random access memory;” it uses the term “RAM” extensively. The
court concludes that the phrase “random access memory” in the claim
refers to the term “RAM” in the specification. Because these terms
are used in conjunction with a means-plus-function claim, it is the
duty of the court to construe the term used to disclose a structure

in the specification, not in the claim. Therefore, “random access

memory” is defined as “RAM” as that term was understood in 1989.

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The specification includes structures labeled RAM and
structures labeled ROM. The patent clearly contemplates that RAM
and ROM are different. Whatever definition the court chooses for
RAM must exclude ROM as that term was understood in 1989.

Whether the definition of “random access memory” includes both
volatile and non-volatile memory depends on the definitions of
“RAM” and “ROM” to a person of ordinary skill in the art in 1989.
Lectrolarm has presented the definition of “random access” from the
fourth edition of the IEEE Dictionary, which was printed in 1988:

random access (computing systems). (1) Pertaining to the

process of obtaining data from, or placing data into
storage where the time required for such access is
independent of th location of the data most recently

obtained. or placed in storage. (2) Pertaining to a

storage device in which the access time is effectively

independent of the location of the data.
IEEE Dictionary, 411 (4th ed. 1988). This definition does not
address the term “RAM,” the issue of volatility, or the difference
between “RAM” and “ROM.”

Absent illuminating intrinsic evidence or useful dictionary
definitions or treatises from the relevant time period, extrinsic
evidence should be consulted. Vitronics, 90 F.3d at 1584. The
intrinsic evidence demonstrates only that “RAM” and “ROM” are
different, it does not discuss how they are different. The parties
have not offered any dictionary definitions or treatises from the

relevant time period that discuss the difference between “RAM” and

“ROM.” Therefore, any extrinsic evidence can assist in construing

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the term “random access memory.”

The distinction between “RAM” and “ROM,” and whether “RAM”
includes both volatile and non»volatile memory, was argued
extensively in Pelco. {Pelco Decision at 85.) The Pelco court heard
testimony from experts for both Lectrolarm and Pelco and appointed
an independent expert to present evidence on the issue. The Pelco
court determined that “[i]n 1988 the terms RAM and. ROM were
mutually exclusive. The Random Access memory {RAM) referred to in
the patent is a volatile memory with fast write capability and
similar read and write times.” (Pelco Decision at 84.) The Pelco
court disposed of the issue as follows:

A.court appointed expert consultant testified October 15,

2002. His testimony unequivocally establishes that Random

Access Memory (RAM) as used in the ‘088 patent, is

volatile and that as of 1988, to one skilled in the art,

the term ROM, including PROMs, CPROMs, and EEPROMs, were

mutually exclusive from Random Access Memory (RAM). The

definition of random access memory, RAM, as used in the

‘088 patent, is interpreted as a volatile memory with

high-speed read-write memory that permits access to any

of its address (storage) locations in any desired

sequence with similar access time to each location.

(Pelco Decision at 85.) Both Lectrolarm's expert, Dr. Rhyne, and

the Defendants' expert, Dr. Horowitz, agree that “RAM” means a

volatile memory. (Rhyne Decl., 1 58; Horowitz Report, 1 36.)ll

 

llLectrolarm’s expert Dr. Rhyne included in his expert report citations
from a number of dictionaries and treaties that suggest that around 1989 the term
“RAM” was a synonym for “random access memory” and would have included non-
volatile memory. This argument misses the central point. The question is not
whether the term “RAM” when presented in isolation would have been understood by
a person of skill in the art in 1989. The question is what a person of skill in
the art would have understood “RAM" to mean when presented in the context of a
document showing it to be something different from “ROM.”

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The court construes “random access memory” as “synonymous with
the term ‘RAM' as that term was used in 1988, but not including
‘ROM’ as that term was understood in 1988. lt is a volatile memory
that permits access to any of its address (storage) locations in
any desired sequence with similar access time to each location. ROM
includes masked ROM, PROM, EPROM, and EEPROM.”

H. The Controlling Means (Claim 2, 1 4; Claim 3, 1 5; Claim 4,
15)

Claim 2, 1 4 discusses a “controlling means.” Claim 3, 1 5,
and Claim 4, 1 5 both refer back to the controlling means of Claim
2 and recite additional functions the controlling means must
perform. The parties agree that the claim for a “controlling means”
is a neans-plus-function claim. The parties disagree about the
correct construction of the function and the corresponding
structure of the claim.

l. The Function of the Controlling Means

Claims 2, 3, and 4 recite three functions of the controlling
means. Lectrolarm proposes that the functions of the controlling
means are: “to control the automatic operation of the rotating
camera base using the previously stored operating data,” “to
position the rotating camera base into prescribed home positions in
response to signals originating from the home position switches on
the operating panel using the home position data previously stored
in RAM,” and “to move the camera to the pre-programmed. home
position corresponding to the external sensor sending the

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‘emergency’ signal.” The Defendants agree with Lectrolarm‘s
proposed construction, but would replace the words “using the” in
the first two clauses of Lectrolarm's offered language with the
words “based on.”

The court agrees with the Defendant's position. The patent
claim uses the words “based on" rather than “using the” to describe
the relationship between the stored data and the operation of the
camera base. The term “based on" is not a technical term that the
court need construe. lt can be understood by the fact finder
without any guidance from the court.

2. The Structure of the Controlling Means

The parties agree that the structure of the controlling means
“is the transmitting side CPU, the receiving side CPU, the drive
circuit, and the stepper motors.” Two of the Defendants, GE
lnterlogix and Bosch, propose that the structure of the controlling
means also includes “the mechanisms disclosed in the ‘088 patent by
which the transmitting side CPU communicates with the receiving
side CPU.” The parties’ dispute centers on whether the structures
that connect the transmitting and receiving side CPUs are a part of
the structure of the controlling means.

The function of the controlling means “is to control the
automatic operation of the rotating camera base based, on the
previously stored operating data.” The structures identified in the

construction of ea means-plus-function claim nmst ck) more than

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simply enable the recited function disclosed in the claim; they
must actually perform the function and must be clearly linked to
the function by the specification. See Asvst Technologies, Inc. v.
Empakl lnc., 268 F.3d 1364, 1371 (Fed. Cir. 2001). In A_Sy_.§‘£
Technologies several means~plus-function claims were at issue. ln
one claim, the structure of a “second microprocessor means for
receiving and processing digital information” was found to include
only the microprocessor, not the communication lines that
transmitted information. to the microprocessor. ;gp_ ln another
claim, the structure of the "fourth means ... for controlling [the
receipt of the transportable containers and the processing of the
articles within the containers] and for transmitting information
related to the processing performed [to the container]" was found
to include the local process controller, the communication means,
and “necessarily includes [the] structure that connects the two,
i.e. [the] communication line.” lgp at 1372.

This case is similar to the second example recited from Apy§p
Technologies. There is no dispute about whether the controlling
means includes the transmitting and the receiving side CPUs. The
controlling means must then “necessarily” include the structures
that connect the two.

Defendants Sensormatic and Vicon argue that the specification
does not clearly link the means by which the two CPUs communicate

with the controlling function. Sensormatic and Vicon also argue

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that the communication means between the two CPUs merely enables
the process of controlling the camera base and does not actually
perform the controlling function. The communication line involved
in the “fourth means” in Asyst Technologies was not closely linked,
by either the specification or by the task it performed, to the
function recited in the means-plus-function claim. Nevertheless,
the Asvst Technologies court found that any structure connecting
the two structures identified. as corresponding structures was
necessarily also a corresponding structure.

The court finds that the structure of the controlling means
“is the transmitting side CPU, the receiving side CPU, the drive
circuit, the stepper motors, and the mechanisms disclosed in the
‘088 patent by which the transmitting side CPU communicates with
the receiving side CPU.”

l. Ultrasonic vs. Supersonic (Claim 4, 1 4)

Lectrolarnl proposes a construction. of Clain\ 4, 1 4 that
includes the language “the external sensors are infrared,
supersonic, or other detectors, not limited to those disclosed in
the specification...." Defendants would replace the word
“supersonic” in Lectrolarm's proposed construction with the word
“ultrasonic.” The patent states that “supersonic or infrared
sensors” can be used as an external sensor. U.S. Patent No.
4,974,088, Column 4:35-37. The Defendants have not argued that a

scrivener's error exists in the patent. The court adopts

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Lectrolarm's proposed claim language.

J. Structure of the Disabling Means (Claim 5, 12)

Lectrolarm proposes that the structure of the disabling means
be “a switch located on the operating panel of the control box.”
The Defendants would like the structure of the disabling means to
be “a switch located on the operating panel of the control box,
that is electrically connected to the external sensor.” The
parties’ dispute centers on whether the electrical connection from
the switch on the control box to the camera base is part of the
structure of the disabling means.

The structures identified in the construction of a means-plus-
function claim.must do more than simply enable the recited function
disclosed in the claim. The structures must actually perform the
function and must be clearly linked to the function by the
specification. See Asvst Technologies, lnc. v. Empak, lnc., 268
F.3d 1364, 1371 (Fed. Cir. 2001). As already discussed, in Apy§p
Technologies the federal circuit found the structure of a “second
microprocessor means for receiving and processing digital
information” to include only the microprocessor, not the
communication lines that transmitted information to the
microprocessor. ldp at 1371.

The parties agree that “the function of the disabling means is
to prevent the controlling means from causing the camera to rotate

to the home position corresponding to the external sensor from

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which an ‘emergency' signal is received.” The electrical connection
between the disabling means and the camera simply enables the
disabling means to perform its function, it does not perform the
function itself. This is analogous to the communication line in
Asvst Technologies that transmitted information to the
microprocessor but was not construed by the court to be a structure
involved in actually performing the disclosed function. The court
adopts Lectrolarm's proposed construction and defines the structure
of the disabling means as “a switch located on the operating panel
of the control box.”

K. Structure of the Display Means (Claim 5, 1 3)

Lectrolarm proposes that the structure of the display means be
“a set of indicator lights, each associated with a particular home
position button on the operating panel, which indicate the presence
or absence of ‘emergency' signals fron\ corresponding external
sensors.” The Defendants would like the structure of the displaying
means to be “a set of indicator lights, each associated with a
particular home position button on the operating panel, which
indicate the presence or absence of ‘emergency' signals from
corresponding external sensors. The set of indicator lights is
electrically connected to the external sensor.” The parties'
dispute centers on whether the electrical connection from the
indicator lights to the sensor is part of the structure of the

disabling means.

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The dispute about the structure of the display' means is
identical to the dispute about the structure of the disabling means
in the preceding section. The court adopts Lectrolarm’s position
and defines the structure of the display' means as “a set of
indicator lights, each associated with a particular home position
button on the operating panel, which indicate the presence or
absence of ‘emergency' signals from corresponding external
sensors.”

VI. Motion for Summary Judgment of Invalidity of Claim 612

Patent claims must “particularly point out and distinctly
clainl the subject matter which the applicant regards as his
invention.” 35 U.S.C. § 112, 1 2. This requirement is known as
definiteness. Determination of claim indefiniteness is a legal
conclusion that is the responsibility of the court. Exxon Research
and Engineering Co., v. United States, 265 F.3d 1371, 1376 (Fed.
Cir. 2001). The test for definiteness is whether “one skilled in
the art would understand the bounds of the claim when read in light
of the specification.” lgp at 1375. “Because a claim is presumed
valid, a claini is indefinite onlyl if the clain\ is insolubly
ambiguous, and no narrowing construction can properly be adopted."

Honevwell lntern., lnc. v. lnternational Trade Com’n, 341 F.3d

 

n The Defendants‘ motion seeks summary judgment on Claims 6 and 7 of the
‘088 patent on the grounds of invalidity. Lectrolarm has not asserted that the
Defendants infringed Claim 7 of the ‘088 patent, and there is no need for the
court to consider whether Claim 7 is invalid.

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1332, 1338-39 (Fed. Cir. 2003) (emphasis added) (internal quotes
and citations omitted).

The parties' dispute centers on the definition of the term
“photocoupler.” Lectrolarm argues that a photocoupler consists of
a light-emitting and a light-receiving diode that are not
necessarily located in the same discrete device. The Defendants
contend that a photocoupler must be a discrete package containing
both a light-emitting and a light-receiving diode.

Paragraphs 3 and 4 of Claim 6 involve the photocoupler:

a photocoupler including a light-emitting element that

transforms said electrical signal from said control box

to a light signal, said light-emitting element being

provided in said control box,

said photocoupler further including a light-receiving

element that transforms the light signal from said light-

emitting element to an electrical signal and outputs the
electrical signal to said rotating camera base, said
light-receiving element being provided in said rotating
camera base....
U.S. Patent No. 4,974,088, Column 12:5-14. The claim itself defines
the term “photocoupler” to include a light~emitting diode and a
light~receiving diode at two separate locations. A person of skill
in the art reading only the claims would understand that the use of
the term “photocoupler” in the claims does not require that the
light-emitting and receiving diodes be in a discrete package.
The specification discloses a definition of “photocoupler”

consistent with that in the claims. The specification refers to

light-emitting and light-receiving element pairs in discrete

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packages as photocouplers. The specification also describes light-
receiving and light~emitting element pairs where the two elements
are at different locations. Although the specification does not
refer to this second configuration explicitly as a “photocoupler,"
it is obvious from the context of the patent that this is the
“photocoupler” referred to in Claim 6.

The word. photocoupler was added to the clain\ during the
amendment process. The Defendants argue that to give “photocoupler”
any meaning other than its ordinary meaning would impermissibly
“read out of the claim the only element that preserved the issued
Claim 6 from a finding of invalidity by the patent office.” (Def.'s
Post-Hearing Mem. Concerning Claim lnterpretation lssues at 15.) To
the contrary, the patent examiner rejected Claim 6 because
communication between the two sides of the device using a light-
emitting and receiving element pair and optical cable is a “well
known technique” for communication and would have been “obvious to
one of ordinary skill in the art." (Examiner’s Action at 3 (January
18, 1990).) The attorney prosecuting the patent responded by adding
the word “photocoupler” to paragraphs 3 and 4 of Claim 6. The
attorney explained that the addition of the word “photocoupler”
clarified that the optical link was not only a means of
communication, but also a way to reduce noise. (Patent Attny.'s
Resp. to Patent Rejection at 5-7.) This amendment, with its

accompanying explanation, was accepted. Because the amendment

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purpose of noise reduction as well as communication the amendment
did not limit the scope of the ‘088 patent.

The term “photocoupler” in Clain\6 is not insolubly'ambiguous.
lrrespective of the ordinary meaning of the term “photocoupler," a
person of skill in the art reading the claims and specification of
the ‘088 patent would understand that the patent uses the term
“photocoupler” in a wenner that encompasses light-emitting and
light-receiving element pairs where the elements are at different
locations and not in a discrete packet. Claim 6 of the ‘088 patent
is not indefinite.

VII. Conclusion

For the foregoing reasons, the court DENlES the Defendants'
motion for summary judgment on Claims 6 and 7 of the ‘088 patent
and construes Claims 1 through 6 of the ‘088 patent as follows:

Claim 1

A remote control apparatus that operates a television camera

base rotatable in the horizontal (pan) and vertical (tilt)

directions, said remote control apparatus comprising:
A first controlling means. The function of the first
controlling means is to output a digital signal
consisting of instructions to position the camera base.
The structure <Jf the first controlling means is the
transmitting side CPU, and equivalents thereof.
A device for 1) receiving said digital signal for driving
and controlling said rotating camera base outputted from
said first controlling means; 2) modulating said digital
signal onto a carrier wave; and 3) demodulating said
signal to recover the digital information from the

modulated carrier wave.

A modem is a device that modulates digital
information onto a carrier wave and demodulates the

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signal to recover the digital information from the
modulated carrier wave.

Carrier wave is a continuous wave, of sinusoidal or
non-sinusoidal form, capable of being modulated or
impressed with a signal.

A modulating circuit is a circuit that modulates a
digital signal onto a carrier wave. The modulating
circuit is one of the component parts of the
control box. The modulating circuit is electrically
connected to the first controlling means on the
transmitting side and electrically connected to the
demodulating circuit on the receiving side.

A demodulating circuit is a circuit that recovers a
digital signal that has been modulated onto a
carrier wave. The demodulating circuit is one of
the component parts comprising the camera base. The
demodulating circuit is electrically connected to
the modulating circuit on the transmitting side and
electrically connected to the second controlling
means on the receiving side.

A set of component parts on the transmitting side of the
remote control apparatus, collectively referred to as a
control box, including a circuit that modulates a digital
signal onto a carrier wave, said circuit being
electrically connected to the transmitting side CPU.

Said demodulating circuit that 1) recovers the digital
signal that has been modulated by said modulating circuit
onto a carrier wave; 2) is one of the component parts
comprising the camera base; and 3) is electrically
connected to said modulating circuit.

A second controlling means. The function of the second
controlling means is to position the rotating camera base
in response to the digital signal received from the
demodulating circuit. The structure of the second
controlling means is the receiving side CPU along with
the drive circuit and stepper motors in the camera base.
and equivalents thereof. The second controlling means is
electrically connected to the demodulating circuit.

Claim 2
A remote control apparatus for operating a television camera

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base rotatable in the horizontal (pan) and vertical (tilt)
directions, said remote control apparatus comprising:

An input means. The function of the input means is to
input operating data for the automatic positioning of the
rotating camera base. The structure of the input means is
the control pad and a set of buttons and switches
(including switches for inputting pan and tilt speeds,
the interval scan switch, the memory set and clear
buttons, and switches for setting the particular mode of
automatic operation) on the operating panel, and
equivalents thereof.

Automatic operation is movement of the camera base
that is not directly responsive to input from a
monitoring' person (other~ than initiation. of the
automatic operation).

Operating data is data that controls the automatic
operation. of the camera base, and. that is set
through use of the structure of the input means.

A storing means. The function of the storing means is to
store the operating data and to store home position data.
The structure of the storing means is a random access
memory' at the transmitting side and. a randon\ access
memory at the receiving side, as well as any CPU
components necessary to effect the storage function, and
equivalents thereof.

Random access memory is synonymous with the term
‘RAM’ as that term was used in 1988, but not
including ‘ROM’ as that terw\ was understood in
1988. lt is a volatile memory that permits access
to any of its address (storage) locations in any
desired sequence with similar access time to each
location. ROM includes masked ROM, PROM, EPROM, and
EEPROM .

A controlling means. The function of the controlling
means is to control the automatic operation of the
rotating camera base based_ on the previously' stored
operating data, to position the rotating camera base into
prescribed home positions in response to signals
originating from the home position switches on the
operating panel based on the home position data
previously stored in RAM, and to move the camera to the
pre-programmed home position corresponding to the

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external sensor sending the “emergency” signal. The
structure of the controlling means is the transmitting
side CPU, the receiving side CPU, the drive circuit, the
stepper motors, and the mechanisms disclosed in the ‘088
patent by which the transmitting side CPU communicates
with the receiving side CPU, and equivalents thereof.

Claim 3

A remote control apparatus for operating a television camera
base rotatable in the horizontal (pan) and vertical (tilt)
directions, said remote control apparatus comprising all of
the limitations in Claim 2, wherein:

Said input means further includes a second input means.
The function of the second input means is to input home
position data. The structure of the second input means is
the control pad and a set of buttons (including home
position buttons) and switches on the operating panel,
and equivalents thereof.

Home position data is information identifying one
or more home positions that is set through use of
the structure of the second input means. “Home
position” is a stored position.

An instructing means is further provided. The function of
the instructing means is to send signals to the
controlling means that ultimately cause the camera to
rotate to a pre-programmed position corresponding to a
particular home position button pressed by the user. The
structure of the instructing means is the home position
buttons and the electrical circuitry connecting the home
position buttons to the controlling means, and
equivalents thereof.

Claim 4

A remote control apparatus for operating a television camera
base rotatable in the horizontal (pan) and vertical (tilt)
directions, said remote control apparatus comprising all of
the limitations in Claim 2, wherein:

Said input means further includes a second input means
described in Claim 3.

External signals in prescribed home positions
electrically connected to the controlling neans. The
external sensors are infrared, supersonic, or other
detectors, not limited to those disclosed in the

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specification, electrically connected to the receiving
side CPU and the controlling means. Each sensor is
associated with a home position. When an external sensor
is triggered, it sends an electronic “emergency” signal
to the controlling means.

Claim 5

A remote control apparatus for operating a television camera
base rotatable in the horizontal (pan) and vertical (tilt)
directions, said remote control apparatus comprising all of
the limitations in Claims 2 and 4, and:

A disabling means. The function of the disabling means is
to prevent the controlling means from causing the camera
to rotate to the home position corresponding to the
external sensor fron\ which. an “emergency” signal is
received" The structure of the disabling' means is a
switch located on the operating panel of the control box,
and equivalents thereof.

A display means. The function of the display means is to
display the presence or absence of an “emergency” signal
coming from an external sensor. The structure of the
display means is a set of indicator lights, each
associated with a particular home position button on the
operating panel, which indicate the presence or absence
of “emergency” signals from corresponding external
sensors, and equivalents thereof.

Claim 6

A remote control apparatus that operates a television camera
base rotatable in the horizontal (pan) and vertical (tilt)
directions, said remote control apparatus comprising:

A set of component parts on the transmitting side of the
remote control apparatus that outputs an electrical
signal for driving and controlling the rotating camera
base.

A photocoupler including a light-emitting element that
transforms said electrical signal from said control box
to a light signal, said light-emitting element being
provided in said control box.

Said photocoupler further including a light receiving
element that transforms the light signal from said light-
emitting element to an electrical signal and outputs the
electrical signal to said rotating camera base, said

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light receiving element being provided in said rotating
camera base.

A transmitting means. The function of the transmitting
means is for transmitting the light signal from said
light-emitting element to said light-receiving element.
The structure of the transmitting means is an optical
fiber cable, and equivalents thereof. The transmitting
means is connected between the control box and the remote
camera base.

A controlling means. The function of the controlling
means is to drive and control the rotating camera base
based on the signal from the light-receiving element
provided in that rotating camera base. The structure of
the controlling means is the receiving side CPU along
with the drive circuit and stepper motors in the camera
base, and equivalents thereof. The controlling means is
electrically connected to the light-receiving element
provided in that rotating camera base.

So ORDERED this 2'i day of September 2005.

C//A/u,,..._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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